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DECLARATION OF ZAN NORTHRIP

I, Zan Northrip, declare as follows:

1. Iam the Executive Vice President for Development Consulting at DAI Global, LLC (DAI). I
submit this declaration in support of a Motion to Enforce the Court’s TRO. The statements made in
this declaration are based on my personal knowledge and my understanding of information made
available to me pursuant to my duties at DAI.

2. Since the Court’s Temporary Restraining Order was first issued on February 13, 2025, DAI has not
received any payments on its $115 million in outstanding invoices to USAID. Over $70 million of
that amount is more than 30 days past due, and all the invoices for the remaining $45 million are
well past the 7-day review period in which a USAID staff member should have asked for
clarification for any payments that did not seem proper, according to ADS 630.2.2.2. All of these
invoices (details of which were provided to DOJ on F ebruary 24, 2025) are now due to DAI for
work that preceded Secretary Rubio’s ALDAC of January 24, 2025. Since January 24, DAI has
also continued to incur costs necessary to ensure operational readiness for its portfolio of projects
that USAID has placed on temporary stop-work orders (SWOs). In total, DAI is now providing up-
front financing to the U.S. government of more than $150 million.

3, Since February 13, the court has twice re-stated and re-emphasized its original TRO. Each time,
DAI has been hopeful that USAID would begin to comply. While we have received a few liftings
of previously issued SWOs, none of the 28 terminations that USAID previously put into effect on
DAI projects has been rescinded, and in no case has any payment been made. USAID’s
communications have been sporadic and inconsistent, but no USAID official has been able to
specify when or if payments would resume. To uphold our side of our contracts, we are required to
continue spending money that USAID seems to be making no effort to reimburse.

4. As described in my Declaration of February 21, we have also been unable to obtain advance
funding through the Letter of Credit drawdown system that USAID operates through HHS. While

our payment requests are still statused as “payment processed” and “in transit,” the expected
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payment dates remain mysteriously set to January 24, 2026 —i.e., 11 months from today. We
reached out to HHS to see how this could have happened. They initially replied that they had no
information to share and said that DAI should “contact your grants manager or Management at
USAID,” something that we have done repeatedly to no effect over the past month. In response to
our follow-up questions, HHS stated at 3:21 pm today, February 24, 2025 that “USAID payments
are still on Hold that is why the future date is there until we receive further guidance.” (see
Attachment A)

Because USAID is still not paying its invoices or processing advance funding on cooperative
agreements, DAI has had to take further actions since my original Declaration in this case. On
Friday, February 14, we furloughed an additional 124 U.S.-based staff members. On the same day,
nearly all of our remaining U.S. staff members were put on reduced hours, dropping them to
between | and 4 working days per week. It should be noted that their pay for each of those working
days had already been reduced by 20 percent two weeks earlier. What remains in the U.S. isa
skeleton staff, focused on only the most essential corporate and project support functions. Other
priorities, such as DAI’s ongoing implementation of a new ERP, have had to be set aside, despite
the high additional cost of pausing that effort. More importantly, DAI’s staff and their families are
suffering ongoing financial hardship that worsens with each passing day of reduced or no
compensation.

This morning, approximately 36 hours after Judge Ali’s order of February 22", we received a new
(29") termination notice, for a project in Madagascar (see Attachment B), which uses language
identical to the terminations that we received prior to the court’s original TRO. DAI also received
notification today (see Attachment C) from the USAID mission in the Democratic Republic of
Congo that “the TRO does not apply to the DRC Good Governance Activity (GGA). At this time,
the award remains terminated and we are not in a position to open discussions to revert that.” The
project USAID DRC referenced is one of the terminated awards that the court’s TRO specifically

said must be reinstated to its operating status on January 19, 2025.
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Besides being extremely disappointing from a rule-of-law perspective, termination notices actually
exacerbate the cash shortage already caused by USAID’s actions to implement the President’s
Executive Order by freezing disbursements. This might sound counterintuitive, but terminations
trigger severance payments that are mandatory under local labor law, as well as numerous other
costs associated with shutting down a project, such as the premature termination of leases, paying
subcontractors for the completed portion of unfinished deliverables, and safeguarding and disposing
of Government vehicles and equipment.

I have worked at DAI for nearly thirty years. Until the actions of the current administration, it has
never been difficult to obtain financing for U.S. government receivables. The faith that the
financial community has historically maintained in the actions and creditworthiness of the U.S.
Government has allowed DAI to secure good commercial terms from the banks that fund its
working capital requirements. This is no longer the case. Despite DAI’s growing mountain of
submitted invoices, DAI’s existing consortium of four of the largest financial institutions in the
U.S. and Europe is unwilling to extend DAI any further working capital, because they have lost
confidence that the U.S. government can be counted upon to pay its legitimate bills under DAI’s
valid contracts and cooperative agreements.

With no payment forthcoming from USAID, and having tapped out our existing $75 million
working capital facility, DAI is in imminent danger of being forced to take actions that might be
contrary to local labor laws in countries where we are implementing projects on USAID’s behalf. In
this context, it must be noted that because the projects are active, DAI is contractually required to
keep staff even though we are not being paid to fund their salaries. If disbursements are not
resumed before this Friday, 28 February, DAI may be forced to suspend thousands of its project
staff members without pay, an action that puts DAI at risk of facing numerous employment legal
claims and could expose us to significant fines and tax penalties, further exacerbating the harm that
USAID’s actions have already caused. DAI is also being threatened with legal action by several

vendors, whom we are already late paying.
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10. Additionally, just to remain operating, DAI is being forced to negotiate a supplemental debt facility
with a non-bank lender that specializes in distressed situations, and which we would never be
considering absent the Government’s continuing actions to implement the President’s Executive
Order — despite those actions having already been enjoined three times by the court. In the absence
of relief, we will need to sign a commitment letter by Wednesday, February 26, which will include
a costly break fee. None of this would be necessary if the Government were actually complying

with the TRO.

I declare under penalty of perjury that the foregoing is true and correct.

ne, NX i et

—Zart Northri

Executive Vice President
DAI Global, LLC

Executed on February 24, 2025, in Bethesda, Maryland

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ATTACHMENT A

From: Hughes, Vivian (OS/ASA/PSC/FMP) <Vivian.Hughes@psc.hhs.gov>
Date: Monday, February 24, 2025 at 3:21 PM
To: Tony Bichelmeyer <Tony Bichelmeyer@dai.com>

Mitche\\@pse. hhs.gov>, Bulluck, Keishay (OS/ASA/PSC/FMP) <Keishay.Bulluck@psc, hh: S$. g0V>
Subject: RE: [EXTERNAL] RE: Status of drawdowns (17D8P)?

USAID payments are still on Hold that is why that future date is there until we receive further guidance. Thanks.

From: Tony Bichelmeyer <Jony_Bichelmeyer@dal.com>
Sent: Monday, February 24, 2025 3:14 PM

To: Hughes, Vivian (OS/ASA/PSC/FMP) <Vivian.Hughes@psc.hhs.gov>
Cc: Kent Piper <Kent_Piper@dai.com>; Mirna Tercero <Mirr (OS/ASA/PSC/FMP)

ham @psc.hhs.gov>; Chen, Jenny

Subject: RE: [EXTERNAL] RE: Status of drawdowns (17D8P)?

Hi Vivian,

As you are aware, USAID does not have the ability to approve and release drawdowns in DHHS/PMS., We have made a drawai request in ice with ADS 636, and the AO
usually does not approve these standard drawdown requests. We will follow up with our AO on each COAG. In the meantime, can you please clarify why the “Payment due date” was
changed on/atter 01/23/25 to have payment date of one year? USAID would not have the system access to change the Payment due date.

Thank you,
Tony

RE: [EXTERNAL] RE: Status of drawdowns (17D8P)?

Hughes, Vivian (OS/ASA/PSC/FMP) <Vivian.Hughes@psc.hhs.gov>
To: Tony Bichelmeyer; Ce: @ Kent Piper: Mirna Tercero; @ Jarrid Dexovitch: Mitchell, Regenia [OS/ASA/PSC/FMP); Bulluck, Keishay {OS/ASA/PSC/FMP}

Good morning,

Currently, we do not have any information to share regarding the payments. Please Contact your grants officer or Management at USAID.
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ATTACHMENT B

MADAGASCAR

oP ti,

‘=°USAID

% cm / FROM THE AMERICAN PEOPLE

Bia, BP

Recipient: Jon Anderson, COP
Catherine Clarke
Development Alternative International Global, LLC (DAI}
Villa Tsinjohary, Lot VU 282 DR Manakambahiny, Antananarivo 101,
Jon_Anderson@dai.com copy to Catherine Clarke@dai.com

Subject: Notice of Full Termination

Agreement: Cooperative Agreement 72068724CA00003, USAID Harena activity
Date: February 24, 2025

Dear Mr. Anderson,

In accordance with the guidance provided by USAID in its January 28, 2025 communication to
implementing partners, and the formal suspension of work notice issued to DAI on the same

day, your award has been reviewed for programmatic efficiency and consistency with United
States foreign policy.

Based on this review, it was determined that Award # 72068724CA00003 is inconsistent with
the national interest and Agency priorities, and is fully terminated, in accordance with 2 CFR
700.14, effective as of the date of this notice. im mediately cease all activities, terminate all
subawards and contracts, and avoid incurring any additional obligations chargeable to the
award beyond those unavoidable costs associated with this Termination Notice. immediately
provide similar instructions to all subrecipients and contractors.

Detailed further instructions on documentation required to negotiate a termination settlement
(e.g., unavoidable costs associated with the funding pause and costs associated with this
termination) will be provided shortly.

Please confirm your receipt and agreement with this Termination Notice by completing and
returning the acknowledgement below. Should you have questions concerning this letter,
please contact me at abakbar@usaid.gov with a copy to Johanesa Rakotoniaina at
jrakotoniaina@usaid.gov. We will follow up with further guidance as soon as possible.

Sincerely,

Digitally signed by Abdullah

Abdullah Akbar Snares 0224112753

+0700
Abdullah Akbar
Agreement Officer USAID/Madagascar

cc: Salohy Soloharivelo, AOR
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Attachment C

From: Gregory S. Wang <gwang@usaid.gov>

Sent: Monday, February 24, 2025 10:15 AM

To: John McGuire <John McGuir i.com>

Subject: Re: FW: Cancellation of Stop Work Order/Suspension of USAID/DRC Awards

Hi John,

Thanks for your email. The cancellation of the stop work order/suspension under the TRO does not apply to the DRC Good Governance Activity (GGA).
At this time, the award remains terminated and we are notina position to open discussions to revert that.

Thanks,

Gregory Wang

DirectoySupervisory Contracting Officer
Office of Acquisition and Assistance
USAID/Democratic Republic of the Congo (DRC)
Phone: +243 617 074 701 | gwang@useid.gov
hiths:/www.workwithusaid.gov!
